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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiffs,                                  )
                                             )   CIVIL ACTION FILE
vs.                                          )   NO.: 1:17-cv-2989-AT
                                             )
BRAD RAFFENSPERGER, et al.                   )
                                             )
Defendants.                                  )
                                             )
                                             )


      SUPPLEMENTAL DECLARATION OF MARILYN MARKS


      I, MARILYN MARKS, hereby declare under penalty of perjury,

pursuant to 28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration and, if

   called to testify, I could and would testify competently thereto.

2. I am the Executive Director of Coalition for Good Governance (“CGG”).

   I am over the age of 18.

CGG Activities and Diversion of Resources

3. Coalition for Good Governance, (formally known as Rocky Mountain

   Foundation) was founded in 2008 as a non-profit non-partisan

   corporation under the laws of Colorado. The current management of

   CGG undertook the management of the organization in 2014 with

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   primary work focused on election integrity and transparency in Colorado

   elections. Public records confirm that, at that time, current management

   brought approximately $700,000 in funding to CGG to address the

   organization’s goals.

4. After I moved to North Carolina in late 2015, CGG’s work began to

   transition to more geographically diverse projects, including election

   security projects in North Carolina, South Carolina, and Tennessee and

   national projects with other non-profits.

5. CGG’s work in 2015 in North Carolina involved a significant project to

   undertake administrative challenges to the lack of a secret ballot in early

   voting statewide. CGG challenged Charlotte-Mecklenburg County’s

   failure to conduct a required post-election audit on the 2016 presidential

   election.

6. In early 2017, national election integrity groups urged me to expand

   CGG’s reach to Georgia, which was known in national election integrity

   circles as having the least secure elections in the nation. After I watched

   the April 18, 2017 Fulton County election returns in the “jungle

   primary,” where Fulton’s server failed and anomalous results were

   reported, I began to redirect resources and time to focus on Georgia’s

   election security issues.



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7. CGG’s first efforts in 2017 in Georgia were in petitioning then Secretary

   Kemp for a reexamination of the DRE voting system. CGG filed a

   lawsuit in Fulton County Superior Court in May 2017 seeking to remove

   DRE from use in the Ossoff/Handle Congressional District 6 runoff. In

   July 2017 this Curling lawsuit was filed, initially to challenge the

   outcome of that runoff, and then seeking to halt the use of the DRE

   system.

8. CCG organized other lawsuits in Georgia related to election matters

   including challenging the excess rejections of absentee ballots (2018),

   COVID-related voting infrastructure improvements (2020), and an

   election contest (2018), all of which commanded significant resources of

   CGG’s volunteers’ and management’s time and CGG’s modest budget.

9. The unpredicted complexity and protracted time requirements and

   expenses of this litigation has required CGG to consistently redirect

   resources of funding and management and volunteer time away from

   other desired projects that are of great interest to our board members,

   members, and donors.

10. I have had to reduce my active involvement in several important efforts

   that CGG supports because of the time demands of this litigation, and

   CGG has had to curtail and decline numerous organization activities.



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Some examples include: inability to participate in the EAC’s current

process of accepting comments on the controversial pending Voluntary

Voting System Standards; sharply reducing active involvement in

Election Verification Network (a national organization of election

experts); declining most speaking invitations on the topic of election

security; ceased active involvement in State Audit Working Group

(experts focused on developing election auditing standards); ceased

activity in weekly meetings of Election Cybersecurity Working Group (a

group proposing VVSG standards to NIST); ceased work in on-going

drive-up voting project CGG initiated in North Carolina; became inactive

in working with other North Carolina election transparency groups on

voter education and transparency efforts in Wake County; reduced

collaboration with North Carolina NAACP on voter education on

election security; stopped participation in meetings of the North Carolina

State Board of Elections; stopped participation in Charlotte-Mecklenburg

Board of Elections meetings; lacked resources to provide requested

consulting support for another non-profit organization’s North Carolina

state court case on ballot marking devices; abandoned CGG’s plans to

file a lawsuit in North Carolina against the use of ballot marking devices;

deferred plans to file a lawsuit in North Carolina on the violations of



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   secret ballot laws; limiting CGG’s involvement in the current effort to

   educate the New York State Board of Elections on the problems in using

   Ballot Marking Devices; declining request of Colorado members to help

   educate the Boulder Colorado City Council on problems with Instant

   Runoff Voting; declining the request of Georgia members to conduct

   voter education or author an opinion piece on the difficulties with

   Ranked Choice Voting; cancel plans for candidate forum on election

   security prior to the November election; cancel plans to conduct a

   meeting regarding Georgia needed election law changes with a group of

   Georgia lawmakers; delayed preparation of education materials for

   Georgia election officials regarding HB270; and failing to keep our

   website, fundraising efforts and donor communications current.

11. The examples of more current resource diversions listed above are

   similar to the activities and resource diversions detailed in June 2018 in

   Coalitions’ Plaintiffs’ TAC (Doc. 226 ¶¶142-143) which were true and

   correct at that time.

Batch Management-Tabulation Software Problem

12. During the November 3, 2021 election, Harri Hursti and I visited

   Gwinnett County Elections for several hours on multiple days as they

   were having significant problems with the Dominion server processing



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   certain batches of scanned ballot images uploaded on precinct scanner

   memory cards. County officials disclosed in public announcements that

   several thousand ballots (tens of thousands of votes) in the batches could

   not be processed. Mr. Hursti and I watched Dominion technicians make

   repeated unsuccessful efforts to process the ballots.

13. A Dominion technical expert, David Moreno, was flown in from Denver

   to attempt to remedy the vote tabulation problem,County spokesman Joe

   Sorenson repeated explained that ballots were simply failing to be

   processed by the system, and that thousands of ballots were caught up in

   the failure.

14. Based on contemporaneous discussions with Mr. Hursti, who was

   watching Mr. Moreno’s actions and computer screens, it appeared that

   that Mr. Moreno made software code changes in real time to circumvent

   the problem to force the system to process most, but not all, of the

   uncounted ballots. After most of the ballots were processed and counted,

   Gwinnett quickly closed and certified the election. I estimated that at the

   time the election was certified at least 1,600 ballots remained uncounted.

   I asked county officials repeatedly, in emails and on site, for an

   accounting of these ballots, but received no response.




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15. A few days later a statewide hand count audit of the presidential race

   was conducted. I was an authorized monitor of the audit process in

   several counties including Gwinnett. According to the audit summary

   published by the Secretary of State, attached hereto as Exhibit 1, during

   the audit Gwinnett discovered 1,642 more ballots than were originally

   counted. This confirmed my belief that over 1,600 ballots had not been

   counted even after Dominion made real time software changes and the

   Gwinnett Board of Elections certified the result.

16. CGG has Gwinnett-based members, but I do not have adequate

   information to know whether the uncounted ballots and discrepancies

   either before or after the Mr. Moreno’s system adjustments affected the

   precinct counts in which our Gwinnett members vote. The change

   certainly affected the county vote tallies. Gwinnett has withheld

   production of documents in objection to CGG’s document subpoena,

   which was issued in order to learn more about this software and vote

   counting problem. A joint discovery dispute is in front of the Court

   (Doc.1057) related to some of the documents sought to research the

   tabulation errors.

17. The ballot batch management problem apparently has been experienced

   in several counties, across several elections since at least August 11,



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   2020 when Harri Hursti first observed indications of this problem on

   Election Night in Fulton County. (Doc. 809-3 ¶ 41-43).

18. Rockdale County detailed their ballot batch management problem in a

   series of emails to the Secretary of State’s Office and Dominion. These

   emails are attached as Exhibit 1. Ms. Willingham’s description (Exhibit

   1 at 2, 6-7) of the problem is consistent with information we have

   obtained concerning this software and tabulation problem.

19. We have no reason to believe that the vote count discrepancies created by

   the batch management software problem were significant enough to

   change the result of the presidential election. In fact, the hand count audit

   found that both the manual tabulation of ballots and the machine count of

   the ballots showed President Biden with highest number of votes.

Tabulation Discrepancies and Audit Failure

20. After the counties’ certification of their election results, the Secretary of

   State ordered a full manual count of the ballots in the Presidential contest

   and called it a “Risk Limiting Audit” with a “Risk Limit of Zero.”

   (timestamp 1:22. https://www.rev.com/blog/transcripts/georgia-press-

   conference-on-election-recount-updates-transcript-november-18 )

   Voting Works was engaged to manage the audit process and conduct the




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   tabulation and consolidation of the manual counts using their software

   “Arlo.”

21. CGG had approximately 6 authorized audit monitors observing the hand

   count at various times across approximately 12 counties. Harri Hursti and

   I worked as a team and observed audit operations in Gwinnett, Clayton,

   DeKalb, Fulton and Cobb counties.

22. Based my knowledge of auditing principles and election audit processes,

   and my observations of the processes employed in Georgia, the audit

   procedures employed were not standard, not transparent, and violated

   fundamental election audit procedures. Count data was concealed from

   the public during the audit and entered into Voting Works applications in

   a process that monitors were not permitted to watch in many counties.

23. I fielded numerous calls from our monitors and election integrity and

   election auditing experts from other states complaining about the

   unusual audit practices and lack of transparency. Harri Hursti and I

   conferred with Professor Philip Stark multiple times each day during the

   audit regarding Voting Works’s and the Secretary’s non-standard

   procedures that were generating widespread dissatisfaction with the audit

   process.




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24. Based on my discussions with Professor Stark and Harri Hursti during

   several times that they were studying Voting Works’ publicly published

   source code, my understanding is that the source code was apparently

   being frequently updated in real time while the audit was being

   conducted and the data input and preliminary results were being

   concealed from the public.


25. The Secretary did not permit the counties to disclose the manual counts

   as they were being conducted and required that results be confidential

   until after his office reviewed and disclosed them. This practice is in

   violation of standard election auditing practices of end-to-end

   transparency. O.C.G.A. § 21-2-498(c)(4) requires that election audits be

   conducted in view of the public. The audit was not in public view as

   counts were hidden from observers.


26. As one example of such audit transparency failure, as I was reading a

   batch sheet of tallies on a box of counted ballots at the DeKalb audit

   facility in my role as a monitor, the Chairman of the DeKalb County

   Board of Elections told me that I was not permitted to see the vote tallies

   on the batch sheets. When I asked why, he screamed at me, “Because I

   said so.” I encountered similar obstruction at some other counties as well.



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   On the other hand, Gwinnett County’s auditing process was quite

   transparent, and monitors, the press and the public were permitted to see

   the necessary documents and tallying processes. The lack of standard

   minimum requirements for transparency of the audit process

   demonstrated to me that Georgia’s audit processes cannot be relied on to

   produce reliable audit information.


27. Exhibit 2 is a true and correct copy of one the audit summaries released

   by the Secretary of State in his press release concerning the audit

   findings.

   (https://sos.ga.gov/index.php/elections/historic_first_statewide_audit_of_

   paper_ballots_upholds_result_of_presidential_race ) CGG will

   investigate some of the anomalous-appearing discrepancies when

   discovery documents become available from counties. For example,

   Exhibit 2 shows that Bartow County found 52 fewer ballots in the audit

   than machine count, but President Biden gained 66 votes. Clayton

   County’s manual audit found 360 fewer ballots than the machine count,

   yet former President Trump gained 145 votes. These are two of many

   such anomalous appearing county audit results, suggesting that error rates

   are higher than implied by the Secretary’s office. The summary and our

   initial work on details that are available indicate that there were

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   numerous offsetting errors in the machine vote counts compared to the

   audited tabulations, raising questions about the quality of the tabulation

   software. (Despite the large number of errors, they were generally

   offsetting.)

28. After the hand count audit, an official statewide recount was conducted

   by rescanning all ballots. There were a number of discrepancies between

   machine counts that tallied the same ballots, although no outcome-

   changing discrepancies were detected. Exhibit 3 is a worksheet prepared

   by CGG analyst under my supervision that shows discrepancies in gray

   highlight between the precinct results for the machine recount compared

   to the original machine count precinct results for some of our members’

   home precincts in Fulton County. The data was obtained from published

   reports of the results and recount reports obtained through public records

   requests. The hand count audit results are not available in the public

   records except in the case of Rhonda Martin’s precinct 08H. The

   member’s precincts listed on the worksheet are Megan Missett, Virginia

   Forney, Rhonda Martin, Aileen Nakamura, and Shea Roberts. The

   precincts in which the CGG members live is confirmed in public record.

29. For example, in Rhonda Martin’s O8H precinct, the BMD early voting

   vote count for President Biden was 574 in the original machine count and



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   569 in the machine recount. In Aileen Nakamura’s SS06 precinct, the

   mail vote count for President Biden changed from 288 to 284 in the

   machine recount. In Plaintiff Megan Missett’s 06J precinct, the original

   machine early vote count for President Biden was 1,036 and the machine

   recount was 1,033.

30. I monitored the Secretary’s press conferences and public announcements

   concerning the hand count audit and the official machine recount. The

   Secretary and Gabe Sterling, a spokesperson for the Secretary, repeatedly

   minimized the discrepancies and offsetting errors that were detected in

   the audit, implying that there were only rare discrepancies. On December

   23, 2020 testifying before the Georgia House of Representatives

   Governmental Affairs Committee, Secretary Raffensperger stated that the

   audit proved that the machines “did not flip votes,” going on to say, “But

   what we've shown is that the machines are accurately tabulating.”

   (timestamp 2:53:00

   https://www.youtube.com/watch?v=gCjbPJLBI7c&feature=youtu.be )

31. Public records document the fact that the machines were not “accurately

   tabulating,” despite the fact that discrepancies did not have an impact on

   the outcome of the election -- President Biden’s vote count was higher.

   CGG is in the initial stages of conducting discovery on the audit reports,



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   recount reports and discrepancies and does not yet have enough

   information to determine the cause of the apparent discrepancies.

Ballot Secrecy

32. I have observed dozens of Georgia’s polling places since the pilot BMD

   election in November 2019 through the November 2020 election. In the

   several hundred BMD’s I have seen installed in the polling places,

   including in polling places where some CGG members have voted, I have

   seen less than 20 BMDs that protected the privacy of the voters’ choices,

   which was only possible in a very large polling place facility deploying a

   small number of machines.

33. As reflected in the Summary of Evidence, Exhibit A to this filing, CGG

   has collected numerous reports covering the entire 17-month period of

   BMD use. Over the last year, our reports from members and observers

   show no meaningful improvement in ballot secrecy statewide. Although

   the Secretary issued guidance to the counties one year ago (Doc. 716-3 at

   8, 10-13), CGG members’ and observers’ and my previous declarations

   show that Secretary’s recommended arrangement was ineffective in

   protecting ballot secrecy.

34. Based on my personal observations, the suggested arrangement of

   equipment requires more floor space than is available in many polling



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places and does not effectively obscure sightlines to the touchscreens by

people in the polling place. This reality is in conflict with the Secretary

of State’s order of March 31, 2020. (Doc. 809-1 at 20). The Secretary’s

order was a result of a Help America Vote Act complaint filed by CGG

in to address the violation of ballot secrecy that appears to be impractical

to resolve given the design of the Dominion BMD units.

   Executed on this date, February 12, 2021




                Marilyn Marks




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                                 Risk-Limiting Audit Full Hand Count                          Original Reporting                  Margin Diff                 Total Count Diff
County          Trump         Biden          Jorgensen Total               Margin        Total Votes      Margin         Raw #          %                   Raw #        %
APPLING             6570              1785          36           8,391    +4,785 Trump                   +4,747 Trump      +38 Trump        +0.456% Trump           50       0.599%
ATKINSON            2300               825          30           3,155    +1,475 Trump                   +1,475 Trump        +0 Biden       +0.000% Biden            0       0.000%
BACON               4018               625          25           4,668    +3,393 Trump                   +3,393 Trump        +0 Biden       +0.000% Biden            0       0.000%
BAKER                   897            652           6           1,555     +245 Trump                      +245 Trump        +0 Biden       +0.000% Biden            0       0.000%
BALDWIN             8906              9139         207          18,252      +233 Biden                      +237 Biden      +4 Trump        +0.022% Trump            1       0.005%
BANKS               7796               931          74           8,801    +6,865 Trump                   +6,863 Trump       +2 Trump        +0.023% Trump            0       0.000%
BARROW             26804          10453            664          37,921   +16,351 Trump                  +16,351 Trump        +0 Biden       +0.000% Biden            0       0.000%
BARTOW             37615          12099            701          50,415   +25,516 Trump                  +25,582 Trump       +66 Biden       +0.131% Biden        -52         -0.103%
BEN HILL            4111              2393          60           6,564    +1,718 Trump                   +1,718 Trump        +0 Biden       +0.000% Biden            4       0.061%
BERRIEN             6419              1269          55           7,743    +5,150 Trump                   +5,150 Trump        +0 Biden       +0.000% Biden            0       0.000%
BIBB               26617          43412            749          70,778   +16,795 Biden                   +16,883 Biden     +88 Trump        +0.124% Trump        -24         -0.034%
BLECKLEY            4328              1311          67           5,706    +3,017 Trump                   +3,017 Trump        +0 Biden       +0.000% Biden            0       0.000%
BRANTLEY            7001               690          57           7,748    +6,311 Trump                   +6,292 Trump      +19 Trump        +0.245% Trump            2       0.026%
BROOKS              4261              2790          50           7,101    +1,471 Trump                   +1,470 Trump       +1 Trump        +0.014% Trump            1       0.014%
BRYAN              14240              6739         355          21,334    +7,501 Trump                   +7,505 Trump        +4 Biden       +0.019% Biden           -6       -0.028%
BULLOCH            18387          11248            455          30,090    +7,139 Trump                   +7,143 Trump        +4 Biden       +0.013% Biden            6       0.020%
BURKE               5400              5208          75          10,683     +192 Trump                      +191 Trump       +1 Trump        +0.009% Trump           -1       -0.009%
BUTTS               8405              3272          91          11,768    +5,133 Trump                   +5,132 Trump       +1 Trump        +0.008% Trump           -3       -0.025%
CALHOUN                 911           1264          12           2,187      +353 Biden                      +337 Biden      +16 Biden       +0.729% Biden           -7       -0.319%
CAMDEN             15262              7969         470          23,701    +7,293 Trump                   +7,284 Trump       +9 Trump        +0.038% Trump           13       0.055%
CANDLER             3132              1270          30           4,432    +1,862 Trump                   +1,864 Trump        +2 Biden       +0.045% Biden            1       0.023%
CARROLL            37476          16238            760          54,474   +21,238 Trump                  +21,238 Trump        +0 Biden       +0.000% Biden            0       0.000%
CATOOSA            25168              6931         494          32,593   +18,237 Trump                  +18,235 Trump       +2 Trump        +0.006% Trump            0       0.000%
CHARLTON            3419              1105          44           4,568    +2,314 Trump                   +2,316 Trump        +2 Biden       +0.044% Biden            2       0.044%
CHATHAM            53248          78316           1912         133,476   +25,068 Biden                   +25,017 Biden      +51 Biden       +0.038% Biden           56       0.042%
CHATTAHOOCHEE           880            667          35           1,582     +213 Trump                      +213 Trump        +0 Biden       +0.000% Biden            0       0.000%
CHATTOOGA           8064              1854         132          10,050    +6,210 Trump                   +6,210 Trump        +0 Biden       +0.000% Biden            0       0.000%
CHEROKEE           99590          42787           2450         144,827   +56,803 Trump                  +56,793 Trump      +10 Trump        +0.007% Trump           -3       -0.002%
CLARKE             14482          36006            842          51,330   +21,524 Biden                   +21,602 Biden     +78 Trump        +0.152% Trump           -3       -0.006%
CLAY                    637            790           7           1,434      +153 Biden                      +153 Biden       +0 Biden       +0.000% Biden            0       0.000%
CLAYTON            15714          95232           1038         111,984   +79,518 Biden                   +79,663 Biden    +145 Trump        +0.129% Trump       -360         -0.320%
CLINCH              2105               747          12           2,864    +1,358 Trump                   +1,358 Trump        +0 Biden       +0.000% Biden            0       0.000%
COBB              165114         221816           6515         393,445   +56,702 Biden                   +56,387 Biden     +315 Biden       +0.080% Biden       -301         -0.076%
COFFEE             10578              4511         125          15,214    +6,067 Trump                   +6,067 Trump        +0 Biden       +0.000% Biden            0       0.000%
COLQUITT           11778              4189         119          16,086    +7,589 Trump                   +7,590 Trump        +1 Biden       +0.006% Biden            3       0.019%
COLUMBIA           50043          29197           1346          80,586   +20,846 Trump                  +20,777 Trump      +69 Trump        +0.086% Trump            7       0.009%
COOK                4900              2059          76           7,035    +2,841 Trump                   +2,841 Trump        +0 Biden       +0.000% Biden            0       0.000%
COWETA             51494          24219           1089          76,802   +27,275 Trump                  +27,291 Trump       +16 Biden       +0.021% Biden            3       0.004%
CRAWFORD            4428              1615          59           6,102    +2,813 Trump                   +2,813 Trump        +0 Biden       +0.000% Biden            0       0.000%
CRISP               4991              2989          66           8,046    +2,002 Trump                   +2,001 Trump       +1 Trump        +0.012% Trump            7       0.087%
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                           Risk-Limiting Audit Full Hand Count                           Original Reporting                  Margin Diff                 Total Count Diff
County       Trump      Biden          Jorgensen Total               Margin         Total Votes      Margin         Raw #          %                   Raw #        %
DADE             6066           1261         107           7,434    +4,805 Trump                    +4,805 Trump        +0 Biden       +0.000% Biden            0       0.000%
DAWSON          13398           2486         197          16,081   +10,912 Trump                   +10,912 Trump        +0 Biden       +0.000% Biden            0       0.000%
DECATUR          6758           4779          90          11,627    +1,979 Trump                    +1,978 Trump       +1 Trump        +0.009% Trump            0       0.000%
DEKALB          58438      308769           4236         371,443   +250,331 Biden                  +249,771 Biden     +560 Biden       +0.151% Biden       732          0.197%
DODGE            5843           2172          56           8,071    +3,671 Trump                    +3,672 Trump        +1 Biden       +0.012% Biden            1       0.012%
DOOLY            2160           1910          35           4,105      +250 Trump                      +248 Trump       +2 Trump        +0.049% Trump            0       0.000%
DOUGHERTY       10412       24656            280          35,348    +14,244 Biden                   +14,127 Biden     +117 Biden       +0.331% Biden           43       0.122%
DOUGLAS         25446       42814            838          69,098    +17,368 Biden                   +17,358 Biden      +10 Biden       +0.014% Biden            1       0.001%
EARLY            2709           2451          28           5,188      +258 Trump                      +285 Trump       +27 Biden       +0.521% Biden            1       0.019%
ECHOLS           1256            167          18           1,441    +1,089 Trump                    +1,089 Trump        +0 Biden       +0.000% Biden            0       0.000%
EFFINGHAM       23359           7713         492          31,564   +15,646 Trump                   +15,638 Trump       +8 Trump        +0.025% Trump           -6       -0.019%
ELBERT           6229           2878          66           9,173    +3,351 Trump                    +3,347 Trump       +4 Trump        +0.044% Trump            2       0.022%
EMANUEL          6556           2888          66           9,510    +3,668 Trump                    +3,667 Trump       +1 Trump        +0.011% Trump            9       0.095%
EVANS            2888           1324          35           4,247    +1,564 Trump                    +1,564 Trump        +0 Biden       +0.000% Biden            0       0.000%
FANNIN          12170           2568         110          14,848    +9,602 Trump                    +9,598 Trump       +4 Trump        +0.027% Trump           -2       -0.013%
FAYETTE         38024       33111            975          72,110    +4,913 Trump                    +4,887 Trump      +26 Trump        +0.036% Trump       117          0.163%
FLOYD           28687       11853            512          41,052   +16,834 Trump                   +16,926 Trump       +92 Biden       +0.238% Biden      2,464         6.385%
FORSYTH         85142       42158           1995         129,295   +42,984 Trump                   +42,919 Trump      +65 Trump        +0.050% Trump        -10         -0.008%
FRANKLIN         9072           1589         102          10,763    +7,483 Trump                    +7,476 Trump       +7 Trump        +0.065% Trump           -2       -0.019%
FULTON         137620      381179           6494         525,293   +243,559 Biden                  +243,904 Biden    +345 Trump        +0.066% Trump       634          0.121%
GILMER          13429           2932         164          16,525   +10,497 Trump                   +10,497 Trump        +0 Biden       +0.000% Biden            0       0.000%
GLASCOCK         1402            155           8           1,565    +1,247 Trump                    +1,248 Trump        +1 Biden       +0.064% Biden           -1       -0.064%
GLYNN           25630       15868            490          41,988    +9,762 Trump                    +9,737 Trump      +25 Trump        +0.060% Trump            4       0.010%
GORDON          19406           4383         244          24,033   +15,023 Trump                   +15,021 Trump       +2 Trump        +0.008% Trump            0       0.000%
GRADY            7049           3601          54          10,704    +3,448 Trump                    +3,415 Trump      +33 Trump        +0.308% Trump           -3       -0.028%
GREENE           7068           4088          91          11,247    +2,980 Trump                    +2,980 Trump        +0 Biden       +0.000% Biden            0       0.000%
GWINNETT       167361      242490           5656         415,507    +75,129 Biden                   +75,414 Biden    +285 Trump        +0.069% Trump      1,642         0.397%
HABERSHAM       16636           3554         235          20,425   +13,082 Trump                   +13,074 Trump       +8 Trump        +0.039% Trump           -7       -0.034%
HALL            64246       25061           1336          90,643   +39,185 Trump                   +39,139 Trump      +46 Trump        +0.051% Trump       120          0.133%
HANCOCK          1154           2975          23           4,152     +1,821 Biden                    +1,826 Biden      +5 Trump        +0.120% Trump        -13         -0.312%
HARALSON        12331           1792         125          14,248   +10,539 Trump                   +10,539 Trump        +0 Biden       +0.000% Biden            0       0.000%
HARRIS          14319           5456         215          19,990    +8,863 Trump                    +8,862 Trump       +1 Trump        +0.005% Trump           -1       -0.005%
HART             9466           3155         106          12,727    +6,311 Trump                    +6,307 Trump       +4 Trump        +0.031% Trump            0       0.000%
HEARD            4519            824          51           5,394    +3,695 Trump                    +3,692 Trump       +3 Trump        +0.056% Trump            3       0.056%
HENRY           48153       73359           1303         122,815    +25,206 Biden                   +25,089 Biden     +117 Biden       +0.095% Biden           73       0.059%
HOUSTON         41520       32262           1059          74,841    +9,258 Trump                    +9,302 Trump       +44 Biden       +0.059% Biden           18       0.024%
IRWIN            3131           1012          24           4,167    +2,119 Trump                    +2,126 Trump        +7 Biden       +0.168% Biden           -1       -0.024%
JACKSON         29507           7639         532          37,678   +21,868 Trump                   +21,855 Trump      +13 Trump        +0.035% Trump            8       0.021%
JASPER           5822           1760          61           7,643    +4,062 Trump                    +4,061 Trump       +1 Trump        +0.013% Trump           -1       -0.013%
JEFF DAVIS       4695           1028          48           5,771    +3,667 Trump                    +3,667 Trump        +0 Biden       +0.000% Biden            0       0.000%
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County       Trump         Biden          Jorgensen Total              Margin        Total Votes      Margin         Raw #          %                   Raw #        %
JEFFERSON        3538              4059          43          7,640      +521 Biden                      +524 Biden      +3 Trump        +0.039% Trump           -2       -0.026%
JENKINS          2161              1266          28          3,455     +895 Trump                      +895 Trump        +0 Biden       +0.000% Biden            0       0.000%
JOHNSON          2849              1222          28          4,099    +1,627 Trump                   +1,628 Trump        +1 Biden       +0.024% Biden           -1       -0.024%
JONES            9940              4896         112         14,948    +5,044 Trump                   +5,077 Trump       +33 Biden       +0.220% Biden        -18         -0.120%
LAMAR            6331              2610          94          9,035    +3,721 Trump                   +3,715 Trump       +6 Trump        +0.066% Trump           -4       -0.044%
LANIER           2512              1016          48          3,576    +1,496 Trump                   +1,490 Trump       +6 Trump        +0.168% Trump            0       0.000%
LAURENS         14496              8071         161         22,728    +6,425 Trump                   +6,420 Trump       +5 Trump        +0.022% Trump           -1       -0.004%
LEE             12007              4558         149         16,714    +7,449 Trump                   +7,449 Trump        +0 Biden       +0.000% Biden            0       0.000%
LIBERTY          7960          13131            331         21,422    +5,171 Biden                    +5,140 Biden      +31 Biden       +0.145% Biden           33       0.154%
LINCOLN          3173              1431          38          4,642    +1,742 Trump                   +1,744 Trump        +2 Biden       +0.043% Biden           -8       -0.172%
LONG             3526              2037          96          5,659    +1,489 Trump                   +1,495 Trump        +6 Biden       +0.106% Biden            3       0.053%
LOWNDES         25727          20083            547         46,357    +5,644 Trump                   +5,574 Trump      +70 Trump        +0.151% Trump            2       0.004%
LUMPKIN         12163              3126         242         15,531    +9,037 Trump                   +9,037 Trump        +0 Biden       +0.000% Biden            0       0.000%
MACON            1799              2849          22          4,670    +1,050 Biden                    +1,074 Biden     +24 Trump        +0.515% Trump            8       0.172%
MADISON         11326              3411         200         14,937    +7,915 Trump                   +7,915 Trump        +0 Biden       +0.000% Biden            0       0.000%
MARION           2275              1311          38          3,624     +964 Trump                      +964 Trump        +0 Biden       +0.000% Biden            0       0.000%
MCDUFFIE         6146              4174         132         10,452    +1,972 Trump                   +2,001 Trump       +29 Biden       +0.277% Biden           -3       -0.029%
MCINTOSH         4018              2610          68          6,696    +1,408 Trump                   +1,404 Trump       +4 Trump        +0.060% Trump            0       0.000%
MERIWETHER       6524              4287          66         10,877    +2,237 Trump                   +2,237 Trump        +0 Biden       +0.000% Biden            0       0.000%
MILLER           2066               747          20          2,833    +1,319 Trump                   +1,317 Trump       +2 Trump        +0.071% Trump           -2       -0.071%
MITCHELL         4935              3995          33          8,963     +940 Trump                      +940 Trump        +0 Biden       +0.000% Biden            0       0.000%
MONROE          11058              4388         152         15,598    +6,670 Trump                   +6,676 Trump        +6 Biden       +0.038% Biden            6       0.038%
MONTGOMERY       2960               980          27          3,967    +1,980 Trump                   +1,981 Trump        +1 Biden       +0.025% Biden            1       0.025%
MORGAN           8227              3357         122         11,706    +4,870 Trump                   +4,875 Trump        +5 Biden       +0.043% Biden           -1       -0.009%
MURRAY          12943              2305         144         15,392   +10,638 Trump                  +10,641 Trump        +3 Biden       +0.019% Biden            3       0.019%
MUSCOGEE        30025          49493            986         80,504   +19,468 Biden                   +19,480 Biden     +12 Trump        +0.015% Trump        -39         -0.048%
NEWTON          23888          29787            577         54,252    +5,899 Biden                    +5,925 Biden     +26 Trump        +0.048% Trump           13       0.024%
OCONEE          16596              8160         411         25,167    +8,436 Trump                   +8,433 Trump       +3 Trump        +0.012% Trump           -1       -0.004%
OGLETHORPE       5592              2437         102          8,131    +3,155 Trump                   +3,157 Trump        +2 Biden       +0.025% Biden            0       0.000%
PAULDING        54512          29681           1154         85,347   +24,831 Trump                  +24,821 Trump      +10 Trump        +0.012% Trump        -38         -0.045%
PEACH            6513              5926         125         12,564     +587 Trump                      +582 Trump       +5 Trump        +0.040% Trump           19       0.151%
PICKENS         14087              2816         233         17,136   +11,271 Trump                  +11,267 Trump       +4 Trump        +0.023% Trump           20       0.117%
PIERCE           7900              1099          49          9,048    +6,801 Trump                   +6,799 Trump       +2 Trump        +0.022% Trump            0       0.000%
PIKE             9127              1504          88         10,719    +7,623 Trump                   +7,622 Trump       +1 Trump        +0.009% Trump           -1       -0.009%
POLK            13581              3647         149         17,377    +9,934 Trump                   +9,931 Trump       +3 Trump        +0.017% Trump        -22         -0.126%
PULASKI          2816              1231          37          4,084    +1,585 Trump                   +1,588 Trump        +3 Biden       +0.074% Biden           25       0.616%
PUTNAM           8291              3448         116         11,855    +4,843 Trump                   +4,843 Trump        +0 Biden       +0.000% Biden            0       0.000%
QUITMAN              604            497           5          1,106     +107 Trump                      +107 Trump        +0 Biden       +0.000% Biden            0       0.000%
RABUN            7473              1985         110          9,568    +5,488 Trump                   +5,490 Trump        +2 Biden       +0.021% Biden            0       0.000%
RANDOLPH         1391              1671          12          3,074      +280 Biden                      +280 Biden       +0 Biden       +0.000% Biden            0       0.000%
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County       Trump         Biden          Jorgensen Total              Margin        Total Votes      Margin         Raw #          %                   Raw #        %
RICHMOND        26767          59142           1111         87,020   +32,375 Biden                   +32,343 Biden      +32 Biden       +0.037% Biden            4       0.005%
ROCKDALE        13129          31120            431         44,680   +17,991 Biden                   +18,232 Biden    +241 Trump        +0.539% Trump           -6       -0.013%
SCHLEY           1800               462          13          2,275    +1,338 Trump                   +1,338 Trump        +0 Biden       +0.000% Biden            0       0.000%
SCREVEN          3936              2644          51          6,631    +1,292 Trump                   +1,255 Trump      +37 Trump        +0.558% Trump            3       0.045%
SEMINOLE         2613              1256          19          3,888    +1,357 Trump                   +1,357 Trump        +0 Biden       +0.000% Biden            4       0.103%
SPALDING        18057          11784            275         30,116    +6,273 Trump                   +6,273 Trump        +0 Biden       +0.000% Biden            0       0.000%
STEPHENS         9369              2385         132         11,886    +6,984 Trump                   +6,983 Trump       +1 Trump        +0.008% Trump            1       0.008%
STEWART              802           1181           7          1,990      +379 Biden                      +381 Biden      +2 Trump        +0.101% Trump            0       0.000%
SUMTER           5715              6324          99         12,138      +609 Biden                      +586 Biden      +23 Biden       +0.189% Biden        -12         -0.099%
TALBOT           1392              2114          16          3,522      +722 Biden                      +722 Biden       +0 Biden       +0.000% Biden            0       0.000%
TALIAFERRO           360            561           7           928       +201 Biden                      +201 Biden       +0 Biden       +0.000% Biden            0       0.000%
TATTNALL         6055              2053          76          8,184    +4,002 Trump                   +3,992 Trump      +10 Trump        +0.122% Trump            1       0.012%
TAYLOR           2420              1388          34          3,842    +1,032 Trump                   +1,031 Trump       +1 Trump        +0.026% Trump            3       0.078%
TELFAIR          2822              1491          21          4,334    +1,331 Trump                   +1,338 Trump        +7 Biden       +0.162% Biden            1       0.023%
TERRELL          2009              2371          36          4,416      +362 Biden                      +372 Biden     +10 Trump        +0.226% Trump            0       0.000%
THOMAS          13027              8697         190         21,914    +4,330 Trump                   +4,246 Trump      +84 Trump        +0.384% Trump           61       0.279%
TIFT            10782              5323         177         16,282    +5,459 Trump                   +5,462 Trump        +3 Biden       +0.018% Biden           -1       -0.006%
TOOMBS           7873              2941         104         10,918    +4,932 Trump                   +4,933 Trump        +1 Biden       +0.009% Biden            4       0.037%
TOWNS            6385              1549          45          7,979    +4,836 Trump                   +4,834 Trump       +2 Trump        +0.025% Trump            0       0.000%
TREUTLEN         2101               952          24          3,077    +1,149 Trump                   +1,149 Trump        +0 Biden       +0.000% Biden            0       0.000%
TROUP           18146          11582            328         30,056    +6,564 Trump                   +6,565 Trump        +1 Biden       +0.003% Biden            7       0.023%
TURNER           2349              1410          33          3,792     +939 Trump                      +939 Trump        +0 Biden       +0.000% Biden            0       0.000%
TWIGGS           2366              2048          31          4,445     +318 Trump                      +326 Trump        +8 Biden       +0.180% Biden            1       0.023%
UNION           12652              2801         109         15,562    +9,851 Trump                   +9,850 Trump       +1 Trump        +0.006% Trump            2       0.013%
UPSON            8613              4199          96         12,908    +4,414 Trump                   +4,407 Trump       +7 Trump        +0.054% Trump            3       0.023%
WALKER          23155              5770         412         29,337   +17,385 Trump                  +17,405 Trump       +20 Biden       +0.068% Biden        -17         -0.058%
WALTON          37858          12612            570         51,040   +25,246 Trump                  +25,160 Trump      +86 Trump        +0.168% Trump        -55         -0.108%
WARE             9902              4174         117         14,193    +5,728 Trump                   +5,654 Trump      +74 Trump        +0.521% Trump            1       0.007%
WARREN           1168              1466          16          2,650      +298 Biden                      +303 Biden      +5 Trump        +0.189% Trump           -1       -0.038%
WASHINGTON       4670              4743          65          9,478       +73 Biden                       +67 Biden       +6 Biden       +0.063% Biden           19       0.201%
WAYNE           10001              2661         104         12,766    +7,340 Trump                   +7,300 Trump      +40 Trump        +0.313% Trump        -12         -0.094%
WEBSTER              749            639           3          1,391     +110 Trump                      +109 Trump       +1 Trump        +0.072% Trump            1       0.072%
WHEELER          1583               689          13          2,285     +894 Trump                      +894 Trump        +0 Biden       +0.000% Biden            0       0.000%
WHITE           12222              2411         183         14,816    +9,811 Trump                   +9,811 Trump        +0 Biden       +0.000% Biden            0       0.000%
WHITFIELD       25666          10677            443         36,786   +14,989 Trump                  +14,966 Trump      +23 Trump        +0.063% Trump           40       0.109%
WILCOX           2403               861          16          3,280    +1,542 Trump                   +1,541 Trump       +1 Trump        +0.030% Trump           -1       -0.030%
WILKES           2822              2161          47          5,030     +661 Trump                      +663 Trump        +2 Biden       +0.040% Biden            1       0.020%
WILKINSON        2667              2067          31          4,765     +600 Trump                      +589 Trump      +11 Trump        +0.231% Trump           -5       -0.105%
WORTH            6829              2398          60          9,287    +4,431 Trump                   +4,435 Trump        +4 Biden       +0.043% Biden            2       0.022%
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County   Trump       Biden        Jorgensen Total               Margin        Total Votes      Margin        Raw #       %                Raw #      %
TOTALS   2,462,857    2,475,141      62,587    5,000,585      +12,284 Biden      4,995,323   +12,780 Biden    +496 Trump +0.0099% Trump      5,262       0.1053%
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